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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

v.                                         CASE NO. 1:21-CR-00421-JDB-1

JOHN MARON NASSIF

____________________________________/

                            NOTICE OF FILING

      Defendant John Maron Nassif, through undersigned counsel, files the

attached letters of support and military records to be used at sentencing.

      Dated this 19th day of April 2023.

                                           Respectfully submitted,

                                           A. Fitzgerald Hall, Esq.
                                           Federal Defender, MDFL

                                           /s/ James T. Skuthan
                                           James T. Skuthan, Esq.
                                           First Assistant Federal Defender
                                           Florida Bar Number 0544124
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                                           Counsel for the Defendant
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 19th day of April 2023, a true and

correct copy of the foregoing was furnished by using the CM/ECF system to

the Clerk of the Court, which will send notice of such filing to all counsel of

record.

                                            /s/ James T. Skuthan
                                            James T. Skuthan, Esq.
